











NO. 07-08-0324-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

AUGUST 26, 2009
______________________________

LOUIS MARTINEZ GARZA, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;

NO. 56,718-E; HONORABLE ABE LOPEZ, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Louis Martinez Garza, was indicted for the offense of failure to register
as a sex offender,


 enhanced by allegations of two prior felony convictions.  Appellant was
convicted of the indicted offense and the jury assessed his punishment, after finding both
enhancement paragraphs true, at confinement in the Institutional Division of the Texas
Department of Criminal Justice (ID-TDCJ) for 25 years.  Appellant appeals that conviction
alleging that the evidence was legally and factually insufficient to support the judgment of
conviction.  We disagree and affirm the trial court’s judgment.
Factual Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant was arrested on October 4, 2007, by officers of the Amarillo Police
Department.  Testimony at trial did not reveal why the officers were in the neighborhood
where they encountered appellant, however, after encountering appellant, the police officer
was verifying identification data provided by appellant when the officer was informed that
appellant was subject to registration requirements as a sexual offender.  Appellant agreed
to accompany the officer to the Amarillo Police Department for further questioning
regarding his status as a sex offender.  After arriving at the police department
headquarters, appellant was interviewed by two detectives.  Upon concluding this interview,
appellant gave a statement.  In appellant’s statement, he acknowledged being advised by
representatives of the ID-TDCJ about his requirement to register as a sex offender. 
According to appellant’s statement, when appellant was released from the ID-TDCJ on
June 19, 2007, he took a bus to Denver, Colorado, instead of coming to Amarillo.  After
leaving Denver, appellant stated that he traveled for several weeks with a carnival ending
up in Childress, Texas.  After a couple of weeks in Childress, appellant stated he took a
Greyhound Bus to Amarillo on September 9, 2007.  A bus ticket for the appropriate date
from Childress to Amarillo was found among appellant’s personal effects.  Appellant stated
in his statement that he only stayed in Amarillo for one day before leaving to undisclosed
towns and cities.  Finally, appellant’s statement indicates that he had only returned to
Amarillo within the previous three or four days and that he was planning on leaving Amarillo
for Waco, Texas, on the date of his arrest.  Appellant’s statement was introduced before
the jury at his trial.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State produced the testimony of a juvenile, A.A., who lived near where the
police first encountered appellant.  A.A. testified that she had seen appellant every day for
the month prior to his arrest at the home of one of her friends.  A.A. was subject to cross-examination by appellant’s counsel and, although she could not state for certain the date
appellant began staying at her friend’s house, she was certain that he stayed there for at
least a month.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Through a series of other witnesses, the State produced testimony that appellant
had been advised about the requirements for registration as a sex offender and that
appellant had previously registered as a sex offender when released from prison on a prior
sexual assault case. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After hearing the evidence, the jury found appellant guilty of failure to register as a
sex offender and, further, the jury found both enhancement paragraphs of the indictment
true.  Appellant was then sentenced to 25 years confinement in the ID-TDCJ.  It is from this
judgment that appellant appeals alleging that the evidence is legally and factually
insufficient.  We find the evidence is sufficient and affirm the judgment of the trial court.
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Since appellant challenges both legal and factual sufficiency, we are required to
conduct an analysis of the legal sufficiency of the evidence first and then, only if we find
the evidence to be legally sufficient, do we analyze the factual sufficiency of the evidence. 
See Clewis v. State, 922 S.W.2d 126, 133 (Tex.Crim.App. 1996).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In assessing the legal sufficiency of the evidence, we review all the evidence in the
light most favorable to the verdict to determine whether any rational trier of fact could have
found the essential elements of the offense beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979); Ross v. State, 133
S.W.3d 618, 620 (Tex.Crim.App. 2004).  In conducting a legal sufficiency review, an
appellate court may not sit as a thirteenth juror, but rather must uphold the jury’s verdict
unless it is irrational or unsupported by more than a mere modicum of evidence.  Moreno
v. State, 755 S.W.2d 866, 867 (Tex.Crim.App. 1988).  We measure the legal sufficiency
of the evidence against a hypothetically correct jury charge.  See Malik v. State, 953
S.W.2d 234, 240 (Tex.Crim.App. 1997).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When an appellant challenges the factual sufficiency of the evidence supporting his
conviction, the reviewing court must determine whether, considering all the evidence in a
neutral light, the jury was rationally justified in finding the appellant guilty beyond a
reasonable doubt.  See Watson v. State, 204 S.W.3d 404, 415 (Tex.Crim.App. 2006).  In
performing a factual sufficiency review, we must give deference to the fact finder’s
determinations if supported by evidence and may not order a new trial simply because we
may disagree with the verdict.  See id. at 417.  As an appellate court, we are not justified
in ordering a new trial unless there is some objective basis in the record demonstrating that
the great weight and preponderance of the evidence contradicts the jury’s verdict.  See id. 
Additionally, an appellate opinion addressing factual sufficiency must include a discussion
of the most important evidence that appellant claims undermines the jury’s verdict.  Sims
v. State, 99 S.W.3d 600, 603 (Tex.Crim.App. 2003).  The Court of Criminal Appeals has
recently declared that, when reviewing the evidence for factual sufficiency, the reviewing
court should measure the evidence in a neutral manner “against a hypothetically correct”
jury charge.  Vega v. State, 267 S.W.3d 912, 915 (Tex.Crim.App. 2008) (citing Wooley v.
State, 273 S.W.3d 260, 268 (Tex.Crim.App. 2008)).
Legal Sufficiency
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In order to prove appellant guilty of the offense, as charged in the indictment, the
State was required to prove that: 1) appellant, 2) on or about October 4, 2007, 3) in Potter
County, Texas, 4) was a person required to register with the municipality, Amarillo, Texas,
5) where appellant resided or intended to reside for more than seven days, 6) because of
two reportable convictions for sexual assault.  See Tex. Code Crim. Proc. Ann. art.
62.051(a); Malik, 953 S.W.2d at 240.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contests the legal sufficiency of the evidence only on the issue of whether
or not the evidence was sufficient to show that he resided or intended to reside in Amarillo
for more than seven days, as of the date of his arrest.  Because appellant’s statement was
that he had only been in Amarillo for three or four days prior to his arrest and was leaving
for Waco the day of his arrest, it is his contention that the evidence is not sufficient.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The following evidence was received by the jury at trial: 1) appellant was released
from ID-TDCJ on June 17, 2007; 2) he had been convicted of two sexual assault cases
that resulted in his imprisonment; 3) the offenses that appellant was convicted of require
him to register as a sex offender; 4) prior to his release, appellant had completed two TDCJ
forms, the “Pre-Release Notification” and “Sex Offenders Verification,” wherein appellant
indicated that he would be residing in Amarillo, Texas, upon release; 5) appellant went
directly to Denver, Colorado, where he stayed approximately two months; 6) after leaving
Denver, appellant ended up in Childress, Texas; 7) appellant left Childress, Texas, on a
Greyhound Bus on September 9, 2007; 8) appellant was arrested on October 4, 2007, and
9) A.A. testified that as of the date of appellant’s arrest she had been seeing him at her
friend’s house for about a month.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applying the test of viewing the evidence in the light most favorable to the jury’s
verdict, it is our opinion that the evidence is legally sufficient.  Jackson, 443 U.S. at 319;
Ross, 133 S.W.3d at 620.  Even though appellant’s statement and the testimony of A.A.
were in conflict, we must remember that it is up to the jury to resolve those sorts of conflicts
in the evidence.  Jones v. State, 944 S.W.2d 642, 647 (Tex.Crim.App. 1996).  Likewise,
the jury is the sole judge of the credibility of the witnesses and the weight and value to be
give the evidence.  Id.  When we apply these principles to the evidence before us, we
cannot say that the jury’s verdict was irrational, therefore, the evidence was legally
sufficient.  Jackson, 443 U.S. at 319; Ross, 133 S.W.3d at 620.  We overrule appellant’s
first issue.
Factual Sufficiency
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having concluded that the evidence was legally sufficient, we now turn to the issue
of the factual sufficiency of that same evidence.  Clewis, 922 S.W.2d at 133.  It is clear
that, when we view the evidence in a neutral light, which we must in a factual sufficiency
review, the evidence still demonstrates appellant’s guilt beyond a reasonable doubt. 
Watson, 204 S.W.3d at 415.  After the jury completed their assigned task of reviewing the
evidence and making its decision, we cannot grant the jury’s decision the type of deference
it deserves and concurrently find that there is any objective basis upon which to find the
evidence factually insufficient.  Id.  Appellant would have us declare that A.A.’s testimony
was not reliable and, therefore, the proof was lacking regarding whether or not appellant
had been in Amarillo for more than seven days.  However, we are not willing to do so.  It
was the jury’s function to listen to the evidence and decide what was believable and what
was not.  Id.  Since the jury resolved that issue against appellant by returning a verdict of
guilty, we see nothing in the record that indicates the jury was not rationally justified in
finding appellant guilty.  Id.  Therefore, appellant’s second issue is overruled.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled appellant’s issues, we affirm the judgment of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







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